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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

PIH HEALTH HOSPITAL -                            )
WHITTIER, a California non-profit                )
public benefit corporation; and PIH              )
HEALTH HOSPITAL - DOWNEY, a                      )
California non-profit public benefit             )
corporation,                                     )
                                                 )
               Plaintiff,                        )
                                                 )           No. 24-cv-02779
       v.                                        )
                                                 )           Judge April M. Perry
HEALTH CARE SERVICE                              )
CORPORATION, a Mutual Legal                      )
Reserve Co. d.b.a BLUE CROSS AND                 )
BLUE SHIELD OF ILLINOIS, and                     )
DOES 1 THROUGH 25, INCLUSIVE,                    )
                                                 )
               Defendants.                       )


                                       OPINION AND ORDER

        The Court denies Defendant's Motion for Reconsideration [31]. “Motions for
reconsideration serve a limited function: to correct manifest errors of law or fact or to present
newly discovered evidence.” Caisse Nationale de Credit Agricole v. CBI Indus., 90 F.3d 1264,
1269 (7th Cir. 1996). The Motion inaccurately states that this Court's ruling "creates inconsistent
rulings in the Northern District of Illinois regarding the same allegations..." Mot. at 2. However,
to the extent there is a split of authority, it existed prior to this Court’s decision. Compare
Regents of Univ. of California on Behalf of UCLA Health Sys. v. Health Care Serv. Corp., No.
22 C 6960, 2024 WL 2209595 (N.D. Ill. May 14, 2024) (finding no preemption of implied-in-
fact contract and quantum meruit claims), and Affiliated Dialysis of Joliet, LLC v. Health Care
Serv. Corp., No. 23 CV 15086, 2024 WL 1195607 (N.D. Ill. Mar. 20, 2024) (same), and
Stanford Health Care v. Health Care Serv. Corp., No. 23-CV-4744, 2023 WL 7182990 (N.D. Ill.
Nov. 1, 2023) (same), with John Muir Health v. Health Care Serv. Corp., No. 22-CV-6963, 2023
WL 4707430 (N.D. Ill. July 24, 2023) (finding complete preemption of implied-in-fact contract
and quantum meruit claims), and Mercy Hosp. of Folsom v. Health Care Serv. Corp., No. 1:24-
cv-02749, 2024 U.S. Dist. LEXIS 116462 (N.D. Ill. July 2, 2024) (same). In issuing its decision,
the Court carefully considered each of these rulings. More fundamentally, any so-called split
created by the Court’s ruling would not warrant reconsideration under the reconsideration
standard. As the Court already noted in its Opinion and Order, district-court decisions do not
bind other district courts. And Defendant cites no authority supporting how inconsistency might
otherwise amount to manifest error.
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        The Motion to Reconsider distinguishes this case from Regents of the Univ. of Cal. v.
Health Care Serv. Corp., No. 1:22-cv-06960, 2024 U.S. Dist. LEXIS 86659 (N.D. Ill. May 14,
2024), arguing that Regents was properly remanded because in that case the healthcare provider
received pre-authorization for the medical treatment. This Court notes, however, that pre-
authorization was also pled by the Plaintiff in the Complaint in this case. Compl. ¶ 14 (“Prior to
the dates of service…PIH sought and received authorization for treatment from HCSC. HCSC
gave authorization reference numbers and approved the medically necessary services rendered to
Patients, and HCSC approved the admission of the Patients.”). Defendant submitted evidence
challenging Plaintiff’s claim of pre-authorization with respect to one patient (“Patient 9”), but
that evidence is by no means clear cut. For example: Plaintiff submitted an EOB that appears to
indicate that Patient 9 bore no financial responsibility for the treatment at issue here and argues
that surely this demonstrates that any required benefit plan conditions were met. Meanwhile,
Defendant has submitted evidence in the form of an affidavit stating that HCSC was not
responsible for pre-authorization of services under this particular benefit plan, and that it did not
find evidence in HCSC’s business records that pre-authorization had been provided by the entity
that was responsible. In reply, Plaintiff submitted evidence (which Defendant argues should be
disregarded as having come too late) that Plaintiff’s own records indicated that Defendant told
Plaintiff that no authorization of Patient 9’s treatment was required.
        To the extent that Patient 9’s treatment was pre-authorized, the Court agrees that this is
strong evidence in favor of an implied-in-fact contract between the parties, separate from any
benefit plan. But even if the services were not pre-authorized, an implied-in-fact contract could
have arisen through other words or actions between the parties either during the course of
communicating about Patient 9 or during the parties' course of dealing prior to Patient 9's
treatment. And that is exactly what Plaintiff has alleged. Regents did not stand for the
proposition that pre-authorization is the only fact which might lead to an independent legal duty.
See Regents, 2024 WL 2209595, at *5 (noting that the implied-in-fact contract was alleged to
have been created because HCSC also issued “Blue Cards to plan participants” and confirmed
“patients’ eligibility”). Whether or not the claim was denied by Defendant because of lack of
coverage in the benefit plan is irrelevant if a separate obligation to pay - outside of the benefit
plan - existed. Here, the Plaintiff alleges it did. See Opinion and Order [29] at 16 & n.3
(weighing the weakness of Defendant’s argument that the benefit plan controls the obligations
here).
        In summary, there are several possible conclusions that could be drawn about Patient 9’s
treatment: (1) Patient 9’s treatment was pre-authorized by Defendant; (2) Patient 9’s treatment
was not pre-authorized, but some other communications occurred causing Plaintiff to believe the
treatment would be reimbursed; or (3) No relevant communications occurred between the parties
that would lead Plaintiff to believe Patient 9’s treatment would be covered. Defendant agrees that
pursuant to Regents, remand would be proper under Scenario 1. And Scenario 2 would support
remand based upon an implied-in-fact contract pursuant to Franciscan Skemp v. Central States,
538 F.3d 594, 597 (7th Cir. 2008) (“These claims arise not from the plan or its terms, but from
the alleged oral misrepresentations made by [Defendant] to [Plaintiff]”). As for Scenario 3,
neither the affidavit submitted by Defendant nor its accompanying exhibit aver that there were
no relevant conversations between Plaintiff and Defendant about Patient 9 – they simply say
there was no record of pre-authorization. It is the Defendant’s burden to prove that federal
jurisdiction is appropriate, and the Court is not persuaded that Defendant has met that burden
here. Just as in Franciscan Skemp, the parties are not arguing about plan terms nor is the Plaintiff
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seeking to recover plan benefits; the parties are instead arguing about whether dealings between
them regarding Defendant paying for patients’ medical treatments created an independently
enforceable contract under which Defendant owes Plaintiff compensation. For that reason, the
Court remains convinced that this case belongs in state court, and Defendant’s Motion to
Reconsider is denied.
So Ordered.

Date: 12/30/2024
                                                    United States District Judge
